EXHIBIT 2
From:                 Steven Benedict
To:                   David Grassi
Cc:                   sally.odom@theecholsfirm.com; Chad Diamond; Caren Enloe
Subject:              Hallager Notice of Deposition
Date:                 Friday, April 16, 2021 4:27:35 PM


Counsel,

I am in receipt of your Notice of Deposition. I will get back to you on if the date works for
our client.  

Plaintiff anticipates serving deposition notices Monday for a date in May do you have
available dates?

Further, since your client just recently filed its Answer I am requesting consent to
amend/extend the scheduling order by 2 months to allow for expert discovery.

Do we have the consent of Defendants?

Also we are amenable to discussing settling this matter. Please call me to discuss 201 500
6961.

Thank you.

--
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